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                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF KENTUCKY
                     ASHLAND, LONDON, AND LEXINGTON DIVISIONS

IN RE:                                                                     CHAPTER 11

LICKING RIVER MINING, LLC, et al.                                          CASE NO. 14-10201

         DEBTORS IN POSSESSION                                             JOINTLY ADMINISTERED 1


         FIRST INTERIM APPLICATION FOR APPROVAL OF COMPENSATION
           FOR SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES
          INCURRED BY GLASSRATNER ADVISORY & CAPITAL GROUP, LLC
            AS FINANCIAL ADVISOR FOR THE DEBTORS FOR THE PERIOD
                    JUNE 12, 2014 THROUGH SEPTEMBER 30, 2014


         Comes Licking River Resources, Inc., Licking River Mining, LLC, S. M. & J., Inc.,

J.A.D. Coal Company, Inc., Fox Knob Coal Co., Inc., and U.S. Coal Corporation (collectively,

the “Debtors”) on behalf of their financial advisor, GlassRatner Advisory & Capital Group, LLC

(the “Applicant” or “GlassRatner”), and for the Applicant’s First Interim Application for

Approval of Compensation for Services Rendered and Reimbursement of Expenses Incurred as

Financial Advisors for the Debtors for the period June 12, 2014 through September 30, 2014 (the

“Fee Application”) respectfully represents as follows:

                                  I.      NARRATIVE SUMMARY

A.       Status of Proceeding

         1.     On May 22, 2014 (the “LR Mining Commencement Date”), an involuntary

petition seeking relief under Chapter 11 of the United States Bankruptcy Code, 11 U.S.C.

§§ 101, et seq. (the “Bankruptcy Code”) was filed against Licking River Mining, LLC (“LR


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  The Debtors whose Chapter 11 cases are being jointly administered with the case of Licking River Mining, LLC
are: Licking River Resources, Inc. (Case No. 14-10203), S. M. & J., Inc. (Case No. 14-10220), J.A.D. Coal
Company, Inc. (Case No. 14-60676), Fox Knob Coal Co., Inc. (Case No. 14-60619), and U.S. Coal Corporation
(Case No. 14-51461).
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Mining”). On May 23, 2014, involuntary petitions seeking relief under Chapter 11 of the

Bankruptcy Code were filed against Licking River Resources, Inc. (“LRR”) and Fox Knob Coal

Company, Inc. (“Fox Knob”). On June 3, 2014, an involuntary petition seeking relief under

Chapter 11 of the Bankruptcy Code was filed against S. M. & J., Inc. (“SM&J”). On June 4,

2014, an involuntary petition seeking relief under Chapter 11 of the Bankruptcy Code was filed

against J.A.D. Coal Company, Inc. (“JAD”). On June 10, 2014, an involuntary petition seeking

relief under Chapter 11 of the Bankruptcy Code was filed against U.S. Coal Corporation (“U.S.

Coal”). The foregoing involuntary petitions are collectively referred to as the “Involuntary

Petitions.”

       2.      In response to the Involuntary Petitions, on June 9, 2014, LR Mining, LRR, Fox

Knob, SM&J, and JAD (collectively, the “Subsidiary Debtors”) acknowledged that they did not

have a defense to allegations contained by filing their Consolidated Answer and Consent to Entry

of Order for Relief and Reservation of Rights [ECF No. 8]. On June 12, 2014, the Court entered

an Order for Relief in each of the Subsidiary Debtors’ cases (the “Subsidiary Relief Date”). In

response to its Involuntary Petition, on June 23, 2014, U.S. Coal acknowledged that it did not

have a defense to allegations contained by filing its Answer and Consent to Entry of Order for

Relief and Reservation of Rights [U.S. Coal Doc 7]. On June 27, 2014, the Court entered an

order for relief in U.S. Coal’s bankruptcy case (the “U.S. Coal Relief Date,” and together with

the Subsidiary Relief Date, the “Relief Dates”).

       3.      On June 13, 2014 and June 27, 2014, the Court entered Orders [LR Mining Doc

91, U.S. Coal Doc 48] authorizing the joint administration of these Chapter 11 cases pursuant to

Fed. R. Bankr. P. 1015(b) for procedural purposes.




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       4.      This Court has jurisdiction over the Debtors’ Chapter 11 cases under 28 U.S.C.

§§ 157 and 1334. This matter constitutes a core proceeding under 28 U.S.C. § 157(b)(2)(A).

       5.      The Debtors maintain their principal places of business in Fayette County,

Kentucky. Accordingly, venue for the Debtors’ Chapter 11 cases is proper in this District under

28 U.S.C. §§ 1408 and 1409.

       6.      No trustee or examiner has been appointed in the Debtors’ Chapter 11 cases. A

single Official Committee of Unsecured Creditors (the “Committee”) for all Debtors was

appointed on June 18, 2014 [See Doc 145].

       7.      The Debtors are current in the filing of their monthly reports and in the payment

of their U.S. Trustee fees in the ordinary course as invoiced.

       8.      Plans and Disclosure Statements have not yet been filed. The exclusivity period

within which the Debtors may file their plan and disclosure statement runs through and including

January 8, 2015, and the exclusivity period within which the Debtors may solicit acceptances of

their plan runs through March 9, 2015.

       9.      On August 3, 2014, the Court entered the Order Establishing Procedures for

Interim Compensation and Reimbursement of Expenses of Professionals [Doc 337] (the “Interim

Compensation Order”), which approved the compensation procedures contained therein (the

“Compensation Procedures”). Pursuant to the Compensation Procedures, professionals retained

in these cases are authorized to file monthly fee statements (the “Monthly Fee Statements”).

Provided that no objection to a Monthly Fee Statement is timely filed, the Debtors are authorized

to pay such professional an amount equal to eighty percent (80%) of the fees and one hundred

percent (100%) of the expenses requested in such Monthly Fee Statement. Also pursuant to the

Compensation Procedures, professionals retained in these cases are authorized to file interim fee




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applications with the Court beginning with the period from June 12, 2014 through and including

September 30, 2014 and at four-month intervals thereafter.

B.     Background of Applicant

       10.     The Debtors selected the Applicant as their financial advisor because of its

experience and knowledge in the fields of debtors’ and creditors’ rights and business

reorganizations under Chapter 11 of the Bankruptcy Code. The Subsidiary Debtors filed their

Application to employ the Applicant as financial advisor on June 9, 2014 [Doc 30] (the “Original

GR Employment Application”), and the Court entered an Interim Order [Doc 123] approving

that Application on an interim basis on June 16, 2014. On June 23, 2014, the Debtors filed their

Application [U.S. Coal Doc 23] (the “USC GR Employment Application”) requesting

authorization for U.S. Coal to employ the Applicant on the same terms as stated in the Original

GR Employment Application.

       11.     On July 11, 2014, the Court entered Final Orders Authorizing the Employment of

GlassRatner Advisory & Capital Group as Financial Advisor for the Debtors [Doc 277; U.S.

Coal Doc 80] (together, the “Final GR Employment Orders”), which approved both the Original

and the USC GR Employment Applications and authorized all of the Debtors to retain and

employ the Applicant as their financial advisor effective from the Relief Dates through the

pendency of their bankruptcy cases. A copy of the Final GR Employment Order entered in the

lead case is attached hereto as Exhibit A. The Applicant has been employed by and acted as

financial advisor for the Debtors since the Relief Dates.

C.     Terms of Employment

       12.     All charges for services rendered and for reimbursement of costs incurred are

within the range of rates and in the amounts the Applicant customarily bills to and collects from




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other clients for similar services. The Applicant believes that its services were necessary and

beneficial to the Estates and that the amount requested as compensation for services is

reasonable, and requests that the amount be approved.

          13.   The Applicant’s professionals and paraprofessionals record the services they

perform on daily time sheets and/or electronic time slips in six-minute increments. The time

entries are made substantially contemporaneously with the performance of the services described

therein and are kept in the regular course of the Applicant’s business. The billing statements

contain a reproduction of the time entries arranged chronologically by the U.S. Trustee’s project

categories and set forth the costs incurred and expenses advanced. The billing statements are

maintained in the ordinary course of the Applicant’s business. True and accurate copies of the

billing statements for the period from June 12, 2014 through September 30, 2014 (the “Fee

Period”) covered by this Fee Application are attached hereto as Exhibit B. The Applicant

represents that the Debtors have reviewed the billing statements and have approved the requested

amount.

          14.   The Applicant received a pre-Relief Date retainer of $100,000.00 for services

rendered and expenses incurred by the Applicant as financial advisor prior to the filing of the

Subsidiary Answer. The Applicant applied the sum of $61,267.67 to the fees and expenses

incurred prior to the filing of the Subsidiary Answer. The Applicant holds the remaining

$38,732.33 (the “Retainer”) in its escrow account, as authorized by the Final GR Employment

Orders.

          15.   The Applicant has submitted no prior applications for allowance of interim

compensation. Pursuant to the Interim Compensation Order, the Applicant has previously filed

the following three Monthly Fee Statements during the Fee Period:




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 Fee Statement Doc                                     80% of       Total        Amount         Amount
                                   Total Fee
     Period     No.                                   Total Fee    Expenses       Paid          Unpaid
    June 12 –
                422               $349,161.40        $279,329.12   $25,487.28   $304,816.40   $69,832.28
  July 30, 2014
  August 1-31,
                514               $155,262.50        $124,210.00   $1,124.74    $125,334.74   $31,052.50
      2014
   September
                585               $161,792.30        $129,533.84   $7,802.67      $0.00 2     $169,594.972
   1-30, 2014
        TOTALS                    $666,216.20        $532,972.96   $34,414.69   $430,151.14   $270,479.75

           16.       No objections were filed to the Monthly Fee Statements for the periods of

June 12, 2014 - July 31, 2014 and of August 1-31, 2014. Accordingly, in conformity with the

Interim Compensation Order and the Compensation Procedures set forth therein, 80% of the

charged fees and 100% of the reimbursable expenses set forth in the Monthly Fee Statements for

those periods has been paid by the Debtors to the Applicant.

           17.       The deadline for objections to the Applicant’s Monthly Fee Statement for the

period of September 1-30, 2014 is November 19, 2014. If no objections are filed, the Applicant

anticipates that the Debtors will pay the Applicant the sum of $137,236.51 in the near future in

conformity with the Interim Compensation Order and the Compensation Procedures, which is

80% of the charged fees and 100% of the reimbursable expenses set forth in the Monthly Fee

Statement for September.

           18.       The remaining 20% of the Applicant’s fees for the periods of June 12, 2014 - July

30, 2014 and August 1-31, 2014 has not yet been paid and remains outstanding. Assuming that

the Debtors pay the Applicant the amount described in paragraph 17 herein for the Monthly Fee

Statement period of September 1-30, 2014, the remaining 20% of the Applicant’s fees for that

period will remain outstanding as well. Hereinafter, these unpaid amounts constituting 20% of

the Applicant’s fees during the Fee Period are referred to as the “Twenty Percent Holdback.”



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    These amounts are as of the filing of this Application.


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                                   II. RELIEF REQUESTED

       By this Fee Application, pursuant to the applicable provisions of 11 U.S.C. §§ 327 - 331

and Fed. R. Bankr. P. 2016, the Applicant seeks allowance of compensation for services

rendered by the Applicant as financial advisor for the Debtors during the Fee Period of June 12,

2014 through September 30, 2014. The Applicant seeks allowance of compensation for services

rendered in the amount of $666,216.20 and allowance and reimbursement of expenses incurred

in the amount of $34,414.69 during the Fee Period, for a total of $700,630.89.

A.     Summary of Services Rendered

       A detailed and itemized description of the services rendered and expenses incurred by the

Applicant for the Fee Period is set forth in Exhibit B and can be further described by project

category consistent with the U.S. Trustee’s Guidelines as follows:

       b1.     Asset Analysis and Recovery – Intentionally omitted

       b2.     Asset Disposition – Intentionally omitted

       b3.     Assumption/Rejection of Leases and Contracts
               Total Hours – 68.3
               Total Fees Requested - $27,177.50

       This category includes time expended for review of specific agreements including those

involving Kolmar, Kentucky Coal Terminal, Forge, Ivyton, Contract Highwall Mining,

Caterpillar, Komatsu, and Whayne Supply; review of royalty holders and preparation of royalty

analyses; and assisting with preparation of royalty motion in conjunction with the royalty

analyses to be filed with Court.

       b4.     Avoidance Action Analysis – Intentionally omitted

       b5.     Budgeting (Case) – Intentionally omitted




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       b6.     Business Operations
               Total Hours – 15.6
               Total Fees Requested - $7,555.00

       This category includes time expended for review of cash management policies and

procedures; preparation of a cash management memo; on-site management discussions regarding

operations; and review of surety bond schedule and timing of payments.

       b7.     Case Administration
               Total Hours – 115.8
               Total Fees Requested - $49,765.00

       This category includes time expended for attendance at first-day hearings in Lexington;

meetings in Lexington with the Debtors and the Debtors’ counsel to discuss strategy and case

issues; status meetings and calls with the Debtors’ counsel, the Debtors, and the GlassRatner

team; and review of the docket, various motions, objections, filing requirements and statutory

guidelines.

       b8.     Claims Administration and Objections
               Total Hours – 162.3
               Total Fees Requested - $44,342.50

       This category includes time expended for review of statutory requirements for 11 U.S.C.

§ 503(b)(9), administrative, and gap period claims; review of invoice history for all vendors with

potential 503(b)(9) and/or administrative and gap period claims; analysis of post-petition and gap

period payments; preparation of a 503(b)(9), administrative, and gap claim analysis and memo;

and review of general unsecured pool of creditors and preparation of a general unsecured pool

analysis and memo.

       b9.     Corporate Governance and Board Matters – Intentionally omitted




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       b10.    Employee Benefits and Pensions
               Total Hours – 9.2
               Total Fees Requested - $4,395.00

       This category includes time expended for review of the key employee incentive plan;

research of comparable key employee incentive plans; and meetings and discussions with the

Debtors’ counsel and the Debtors regarding the key employee incentive plans.

       b11.    Employment and Fee Applications
               Total Hours – 42.9
               Total Fees Requested - $18,772.50

       This category includes time expended for review of motion to employ and declaration in

support of GlassRatner; review of internal invoices for June, July, August and September and

preparation of any necessary revisions; preparation of June, July, August and September monthly

fee notices; preparation of gap period invoice; review of E&Y, Foley and Boyd employment

application and fee notices.

       b12.    Employment and Fee Application Objections– Intentionally omitted

       b13.    Cash Collateral and Post Petition Financing
               Total Hours – 303.8
               Total Fees Requested - $125,189.90

       This category includes time expended for discussions and meetings with the Debtors and

the Debtors’ counsel regarding the Initial, First Amended, and Final Cash Collateral Orders, as

well as assisting the Debtors in the preparation of the Initial, First Amended, and Final 13 week

cash collateral budgets. The preparation of such budgets incorporated a detailed analysis of the

Debtors’ operations, including production and shipping forecasts, detailed operating assumptions

on a mine by mine basis, staffing analysis, and analysis of prepetition obligations typically

allowed postpetition. This time also included the preparation of a memo for each of the cash

collateral budgets. This category also includes time expended for a review of the feasibility of




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debtor-in-possession (“DIP”) financing; participation in meetings and discussions with the

Debtors and the Debtors’ counsel to strategize terms of any DIP financing; review of potential

DIP motion, and proposed order; and preparation and review of a DIP presentation to present to

potential investors.

       b14.    Litigation– Intentionally omitted

       b15.    Meetings of and Communications with Creditors
               Total Hours – 155.3
               Total Fees Requested - $63,275.50

       This category includes time expended for preparation and attendance at 341 hearing in

Lexington; preparation of updated cash flow forecasts for discussion with the Committee

financial advisor; review of request list provided by the Committee counsel; meetings and

discussions with the Debtors and the Debtors’ counsel to discuss fulfillment of the Committee

document requests; creation of online database to organize and store documents requested by the

Committee; preparation of responses to the Committee document requests and upload to online

database; tour of JAD and LRR facilities with the Committee financial advisor; and meetings and

calls with the Committee to provide updates as to status of case and document requests.

       b16.    Non-Working Travel – Intentionally omitted. As a courtesy to the Estates,

GlassRatner is not billing for any non-working travel time.

       b17.    Plan and Disclosure Statement (incl. Business Plan)
               Total Hours – 499.2
               Total Fees Requested - $184,814.80

       This category includes time expended for preparation of JAD and LRR plan projection

models; on-site meetings and continued discussions with the Debtors regarding business plan and

assumptions; preparation of financial models and continued review based on relevant financial

results; preparation of internal memoranda regarding business plan assumptions for LRR and




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JAD; meetings with the Debtors to review cash flow and projections on mine-by-mine basis;

construction of a revised balance sheet, statement of cash flows, and sources and uses summary;

and preparation of updates to financial models based on continued discussions with the Debtors.

       b18.    Real Estate– Intentionally omitted

       b19.    Relief from Stay/Adequate Protection Proceedings
               Total Hours – 11.50
               Total Fees Requested - $5,697.50

       This category includes time expended for review of equipment lenders’ adequate

protection orders, including Caterpillar, Komatsu, Commercial Bank, and Huntington Bank;

review of payments and debt outstanding to equipment lenders; review of stipulations as part of

adequate protection motions; and discussions with the Debtors’ counsel and the Debtors

regarding the same.

       b20.    Financial Reporting
               Total Hours – 218.4
               Total Fees Requested - $67,485.00

       This category includes time expended for review of statutory requirements for the filing

of the summary of assets and liabilities (the “SOALS”) and the statement of financial affairs (the

“SOFAS”) in the Eastern District of Kentucky; coordination with the Debtors and on-site

meetings required to complete the SOFAS and SOALS; review of documentation provided by

the Debtors; preparation of separate SOFAS and SOALS for all of the Debtor entities; review of

SOFAS and SOALS with the Debtors’ counsel and preparation of updates as applicable;

preparation of amended SOFAS and SOALS for each debtor entity; review of weekly variance

reports prepared by the Debtors; preparation of rolling budget vs. actual variance reports; and

meetings with the Debtors and the Debtors’ counsel regarding the variance reports.




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       b21.    Tax Issues
               Total Hours – 27.8
               Total Fees Requested - $10,435.00

       This category includes time expended for review of interim order regarding tax payments

and meetings with the Debtors’ counsel regarding same; review of historical tax returns and net

operating losses (the “NOLs”); preparation and review of NOL memo; meetings and discussions

with NOL expert to prepare an NOL tax analysis; review of prepetition taxes and meetings with

the Debtors and the Debtors’ counsel regarding same; and review of reclamation and severance

tax amounts and preparation of tax summary.

       b22.    Valuation
               Total Hours – 122.9
               Total Fees Requested - $46,557.50

       This category includes time expended for discussions with appraisers from Resource

Technologies and Great American Group to discuss valuation for machinery, equipment and the

Debtors as a going concern; review of appraisals; discussions with the Debtors’ counsel and the

Debtors regarding equipment and the valuation analysis; preparation of a liquidation analysis

based on appraised equipment values; and preparation of a valuation summary based on

appraised values and the liquidation analysis.

       b23.    Financial Analysis/Capital Structure
               Total Hours – 28.7
               Total Fees Requested - $10,753.50

       This category includes time expended for discussions with the Debtors and the Debtors’

counsel regarding equipment note financing, related party transactions, the lien summary, and

intercompany transactions; preparation of intercompany transaction memo; and review of debt

structure amounts.




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       Summary

       The total time expended by the Applicant on behalf of the Debtors during the Fee Period

was 1,781.7 hours and is itemized on Exhibit B.

       In conclusion, the Applicant believes and represents that the compensation sought is

reasonable based on the nature, extent, and value of such services, the time expended on such

services, the cost of the comparable services rendered in cases other than bankruptcy cases, and

the other factors adopted by the Sixth Circuit in the lodestar analysis of fee applications.

B.     Necessary Expenses Incurred

       Under 11 U.S.C. § 330(a)(1)(B), the Court may reimburse the Applicant for the “actual,

necessary expenses” incurred in these cases. In the course of its representation of the Debtors

during the Fee Period, the Applicant incurred actual expenses in the total amount of $34,414.69.

A detailed list of those expenses is included in Exhibit B. By the Fee Application, the Applicant

also seeks allowance and reimbursement for those actual, reasonable and necessary expenses

incurred by the Applicant in representing the Debtor.

       The Applicant normally seeks and receives reimbursement of costs incurred for travel,

hotels, meals, transportation, postage, teleconference services, and online research from its

clients, and reimbursement of such costs is sought hereby. The Applicant believes that all of the

expenses requested are reasonable, necessary and appropriately reimbursable in these cases. The

Applicant requests that this Court approve the reimbursement sought.

                                       III. CONCLUSION

       The Applicant respectfully submits that its Fee Application for interim compensation in

the total amount of $700,630.89 (including fees and expenses) constitutes a fair and reasonable

request for the quality and nature of the services performed.




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       WHEREFORE, for all the foregoing reasons, pursuant to 11 U.S.C. §§ 328, 330 and 331,

the Applicant prays that this Court enter an Order:

       (a)     approving the Applicant’s request pursuant to this Fee Application for interim

allowance of fees in the amount of $666,216.20 and expenses in the amount of $34,414.69 for

the Fee Period, for a total allowed compensation of $700,630.89;

       (b)     authorizing the Applicant to apply the Retainer to the Twenty Percent Holdback

of $133,243.24, and also to any additional portion of the Applicant’s Monthly Fee Statement for

September 1-30, 2014 that remains outstanding as of the entry of such order, both as allowed

interim administrative expenses of the Estates.

       (c)     following the Applicant’s application of the Retainer to the Twenty Percent

Holdback and any portion of the Applicant’s Monthly Fee Statement for September 1-30, 2014

that remains outstanding as of the entry of such order, authorizing the Debtors to pay the

Applicant any remaining portion of the Twenty Percent Holdback and the Applicant’s Monthly

Fee Statement for September 1-30, 2014, both as allowed interim administrative expense of the

Estates; and

       (d)     granting such other and further relief as this Court may deem appropriate.

                              CERTIFICATE OF APPLICANT

       I hereby certify that I have reviewed the foregoing Fee Application and the Exhibits

attached hereto and that they are true and correct to the best of my knowledge and belief.

                                      GlassRatner Advisory & Capital Services, LLC, Applicant

                                      By:    /s/ Evan Blum

                                      Title: Principal

                                      Dated: November 13, 2014




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                                             NOTICE

        Please take notice that unless an objection to the foregoing, properly noticed for hearing, is
filed within thirty (30) days of the date of service of this pleading, an order granting the relief
requested herein may be entered without a hearing. Any objections shall be noticed for hearing on
Wednesday, December 17, 2014 at 9:30 a.m. (ET) before the United States Bankruptcy Court for
the Eastern District of Kentucky, 100 East Vine Street, Third Floor, Lexington, Kentucky.


                                               Respectfully submitted,

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                                               COUNSEL FOR DEBTORS AND
                                               DEBTORS IN POSSESSION




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                                             CERTIFICATE OF SERVICE

         This document has been electronically filed and served via the Court’s ECF System on

November 14, 2014.


                                                     /s/ Amelia Martin Adams, Esq.
                                                     COUNSEL FOR DEBTORS
                                                     AND DEBTORS IN POSSESSION

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